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 7                             UNITED STATES DISTRICT COURT
 8                            CENTRAL DISTRICT OF CALIFORNIA

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                                               Case No.: 2:13-cv-00686-DDP-MAN
11   KOBE FALCO, JOEL SEGUIN,
12   ALFREDO PADILLA, and ROBERTO              FINAL JUDGMENT
     GALVAN, individually, and on behalf of
13   other members of the public similarly
     situated,                                 Courtroom: 9C – 9th Floor
14                                             Judge:     Hon. Dean D. Pregerson
15              Plaintiffs,

16        vs.
17   NISSAN NORTH AMERICA, INC. a
     California corporation, and NISSAN
18   JIDOSHA KABUSHIKI KAISHA d/b/a
19   NISSAN MOTOR CO., LTD., a publicly
     traded company in Japan,
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                Defendants.
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                                   [PROPOSED] FINAL JUDGMENT
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 1                                    FINAL JUDGMENT
 2         Under Rules 54(b) and 58, it is adjudged as follows:
 3         1.    The Court entered a Final Approval Order approving the Settlement;
 4         2.    For the reasons stated in the Court’s Final Approval Order, judgment is
 5 hereby entered in accordance with the Final Approval Order; and
 6         3.    Plaintiffs’ claims asserted against Defendants in this action are dismissed
 7 with prejudice, without costs to any party, except as provided for in the Final Approval
 8 Order or Settlement Agreement.
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10 IT IS SO ORDERED.
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     Dated: 7-19-18
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                                                        Honorable Dean D. Pregerson
13                                                      United States District Court Judge
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                                                 1      Case No.: 2:13-cv-00686-DDP-MAN
                                    [PROPOSED] FINAL JUDGMENT
